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6    Attorneys for the
        United States of America
7
8                     IN THE UNITED STATES DISTRICT COURT
9                    FOR THE EASTERN DISTRICT OF CALIFORNIA
10                                    )
     UNITED STATES OF AMERICA         ) CASE NO. 1:11-cr-00380-AWI
11                                    )
                      Plaintiff,      )
12                                    )
     v.                               ) MOTION FOR RESTITUTION HEARING
13                                    )
     JERRY JAY HER                    )
14                                    )
                                      )
15                                    )
                      Defendant.      ) Hon. Anthony W. Ishii
16                                    )
17        The United States of America hereby moves, with accompanying
18   Declaration of Grant B. Rabenn, this Court for an Order to hold a
19   restitution hearing as to defendant JERRY JAY HER (“Defendant”)
20   on or before Friday, August 17, 2012, pursuant to 18 U.S.C. §
21   3664(d)(5).
22
23                                          Respectfully submitted,
24                                          BENJAMIN B. WAGNER
                                            United States Attorney
25
26
                                      By:    /s/ Grant B. Rabenn
27                                          GRANT B. RABENN
                                            Assistant U.S. Attorney
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1                       DECLARATION OF GRANT B. RABENN
2          1.   Title 18, United States Code, Section 3664(d)(5)
3    provides that if a victim’s losses are not ascertainable ten days
4    prior to sentencing, the Court shall be informed and the Court
5    shall set a date for final determination of victim’s losses not
6    to exceed ninety (90) days after sentencing.
7          2.   Defendant was sentenced to 14 months imprisonment on May
8    21, 2012 for conspiracy to commit postal crimes.          In the factual
9    basis for Defendant’s guilty plea, Defendant admitted to breaking
10   into a community mailbox located in Fresno, California on or
11   about September 4, 2011.
12         3.   Approximately one week prior to Defendant’s sentencing,
13   the United States Attorney’s Office (“USAO”) was informed by the
14   United States Postal Service (“USPS”) that it intended to file a
15   claim for restitution based on the damage caused by Defendant to
16   the community mailbox.     On or about the day that the USAO was
17   informed of USPS’s potential restitution claim, USPS also made
18   Probation aware of the claim for restitution.         However, because
19   of the deadlines for filing the Pre-Sentence Report (“PSR”),
20   Probation was unable to verify and include this claim for
21   restitution in the PSR.
22   ///
23   ///
24   ///
25   ///
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28   ///
                                         2
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1         4.    During Defendant’s sentencing, I informed the Court of
2    USPS’s potential claim for restitution.         The Court stated that
3    the United States could move for a restitution hearing within
4    ninety (90) days of Defendant’s sentencing.          Ninety (90) days
5    from the date of Defendant’s sentencing is Sunday, August 19,
6    2012.     As such, the United States requests that the Court hold a
7    restitution hearing as to Defendant on or before Friday, August
8    17, 2012.
9
10   Dated: June 21, 2012               By:    /s/ Grant B. Rabenn
                                              GRANT B. RABENN
11                                            Assistant U.S. Attorney
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8                      IN THE UNITED STATES DISTRICT COURT
9                     FOR THE EASTERN DISTRICT OF CALIFORNIA
10                                       )
     UNITED STATES OF AMERICA            )   CASE NO. 1:11-cr-00380-AWI
11                                       )
                       Plaintiff,        )   ORDER SETTING RESTITUTION
12                                       )   HEARING
     v.                                  )
13                                       )
                                         )
14   JERRY JAY HER,                      )
                                         )
15                                       )
                                         )
16                     Defendant.        )   Hon. Anthony W. Ishii
                                         )
17
          Upon Motion by the United States of America, IT IS ORDERED
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     that on the 6th day of August, 2012, at 11:00 a.m., a hearing
19
     shall be held to determine the restitution owed, if any, by
20
     Defendant JERRY JAY HER to known victims in the above-captioned
21
     case.
22
     IT IS SO ORDERED.
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24   Dated:         June 21, 2012
     0m8i78                         CHIEF UNITED STATES DISTRICT JUDGE
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